           Case: 3:20-cv-00732-wmc Document #: 8 Filed: 06/25/21 Page 1 of 2


                           IN THE UNITED STATES DISTRICT COURT                           - •)
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                                                                                              /r
                         FOR THE WESTERN DISTRICT OF WISCONSIN                                     ! LLD
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Jeremy M. Blank,

         Plaintiff,


   VS.                                                      Case No. 20-cv-732-wmc


Joel Lindow, et al.,

         Defendants.


    PLAINTIFF JEREMY M. BLANK'S EMERGENCY MOTION FOR SCREENING
                        UNDER 28 U.S.C. §1915A(a)



      Pursuant to Federal Rule of Civil Procedure ("FRCP") 7(b) and by this Motion the Plaintiff
Jeremy M. Blank ("Blank") respectfully requests that this Court screen his complaint pursuant to
28 U.S.C. §1915A(a). In support of this Motion, Blank states and shows this Court as follows:

                                     STATEMENT OF FACTS

        On August 8, 2020, the initial complaint in the above-captioned case was filed pursuant
to 42 U.S.C. §1983 alleging that various prison officials had failed to protect him from self-
harm, in violation of the United States Constitution. (Dkt. 1).

           On August 7, 2020, an Initial Partial Filing Fee of $40.95 was assessed. (Dkt. 4).

       On August 24, 2020, the Initial Partial Filing Fee of $40.95 was received. (no docket
number assigned).

        On January 19, 2021, Blank filed an Amended Complaint he intended to be the operative
complaint and did not file a Motion for Leave to Amend due to the fact that the Defendants had
not been served, or the complaint screened.

        It is now five (5) months since the filing of the amended complaint, and ten (10) months
since the filing of the initial complaint, without a screening.

           This Motion follows.
        Case: 3:20-cv-00732-wmc Document #: 8 Filed: 06/25/21 Page 2 of 2



                                       APPLICABLE LAW


   Congress has the authority to require judges to expedite particular matters, see Miller v.
French, 530 U.S. 327 (2000), and 28 §1915A(a) exercises that authority. Under 28 U.S.C.
§1915A(a), district courts are required "as soon as practicable after docketing, a complaint in a
civil action in which a prisoner seeks redress from a governmental entity or officer or employee
of a governmental entity." (emphasis added).

                                           ARGUMENT

   In Wheeler v. Wexford Health Sources, Inc, 689 F.3d 680 (7th Cir. 2012), the Seventh Circuit
expedited the issuance of its mandate because of - inter alia - the district court's failure to screen
the complaint for the better part of ten (10) months. "This complaint should have been screened
before the end of September 2011. The district court must complete that task swiftly." Id., at 683.
While the Seventh Circuit was presumably concerned because the Plaintiff in Wheeler was
suffering from ongoing pain, nothing suggests that ten (10) months is "as soon as practicable" as
Congress envisioned in the passage of 28 U.S.C. §1915A(a).

    With all due respect, Blank asserts that the screening is overdue and respectfully requests that
it be completed shortly after this Motion is docketed/filed. This case - like many others - will
likely involve conflicts in testimony that delay in screening can only serve to harm the ends of
justice. Memories fade...

                                          CONCLUSION

  Based upon the foregoing, Blank respectfully requests that this Court screen his amended
complaint (Dkt.   ) forthwith.

Dated: 06/.1,
            772021

Respectfully Submitted,


   mAraki          Wiat,
qe
J my M. Blank
#341893
Jackson Correctional Institution
P.O. Box 233
Black River Falls, WI 54615-0233

Pro se Plaintiff




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